             Case
              Case3:15-cv-05565-MJP
                   3:15-cv-05565-MJP Document
                                      Document46-1
                                               47 Filed
                                                   Filed10/22/20
                                                         10/21/20 Page
                                                                   Page11ofof22




 1                                                                      The Honorable Marsha J. Pechman

 2

 3

 4

 5

 6                                UNITED STATES DISTRICT COURT FOR THE
                                    WESTERN DISTRICT OF WASHINGTON
 7                                            AT TACOMA

 8

 9
   UNITED STATES OF AMERICA ex rel.                        CASE NO. C15-5565-MJP
10 Michael George Daggett,
                                                           ORDER DISMISSING COMPLAINT
                                     Plaintiff,
11

12                           v.

   Regional Toxicology Services, LLC d/b/a Sterling
13
   Reference Laboratories and Rocky Mountain Tox,
14 LLC d/b/a Cordant Health Solutions,
                                     Defendants.
15

16
            The Court, having considered the Stipulation of Dismissal filed by the United States and
17
     Relator Michael George Daggett, it is hereby ORDERED, pursuant to 31 U.S.C. ' 3730(b)(1), that:
18
            1.      The Parties having agreed to a settlement of certain claims raised in this matter;
19
            2.      All of the claims set forth in the Complaint shall be dismissed against all Defendants
20
     with prejudice to the Relator, and with prejudice to the United States to the extent of the ACovered
21
     Conduct,@ as that term is defined in the Settlement Agreement concluded among the United States,
22
     the Relator, and Defendants Regional Toxicology Services, LLC d/b/a Sterling Reference
23

      ORDER - 1 (C15-5565-                                                       UNITED STATES ATTORNEY
                                                                                700 S TEWART S TREET, S UITE 5220
      MJP)
                                                                                  S EATTLE, W ASHINGTON 98101
                                                                                         (206) 553-7970
             Case
              Case3:15-cv-05565-MJP
                   3:15-cv-05565-MJP Document
                                      Document46-1
                                               47 Filed
                                                   Filed10/22/20
                                                         10/21/20 Page
                                                                   Page22ofof22




 1 Laboratories and Rocky Mountain Tox, LLC d/b/a Cordant Health Solutions, but otherwise without

 2 prejudice to the United States;

 3 3.              The dismissal is without prejudice to any rights that any party may have under the

 4 Agreement, including the government’s right, in the event of default, to rescind the Agreement and

 5 bring any civil and/or administrative claim, action, or proceeding against Cordant and/or any of its

 6 subsidiaries; and

 7

 8
            DATED this 22nd day of October, 2020.
 9

10

11
                                                         MARSHA J. PECHMAN
12                                                       United States District Judge

13

14 Presented by:

15
     s/ Kayla C. Stahman                                    s/ Felix Gavi Luna
16   KAYLA C. STAHMAN, CA #228931                          FELIX GAVI LUNA, WSBA No. 27087
     Assistant United States Attorney                      Peterson Wampold Rosato Luna Knopp
     United States Attorney’s Office                       1501 4th Avenue, Suite 2800
17
     700 Stewart Street, Suite 5220                        Seattle, WA 98101
18   Seattle, Washington 98101-1271                        Ph. (206) 624-6800
     Phone: 206-553-7970                                   luna@pwrlk.com
     Fax: 206-553-4073
19
     Email: Kayla.stahman@usdoj.gov
20                                                          s/ Jonathan K. Tycko
                                                           JONATHAN K. TYCKO
                                                           Tycko & Zavareei LLP
21
                                                           2000 L Street, N.W., Suite 808
22                                                         Washington, D.C. 20036
                                                           Tel: (202) 973-0900
                                                           jtycko@tzlegal.com
23

     ORDER - 2 (C15-5565-                                                      UNITED STATES ATTORNEY
                                                                              700 S TEWART S TREET, S UITE 5220
     MJP)
                                                                                S EATTLE, W ASHINGTON 98101
                                                                                       (206) 553-7970
